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 5   Attorneys for Defendant
 6
 7
 8                                    UNITED STATES DISTRICT COURT
 9                             FOR THE SOUTHERN DISTRICT OF CALIFORNIA
10                                    (HONORABLE DANA M. SABRAW)
11   UNITED STATES OF AMERICA,                ) CASE NO. 06CR1023-DMS
                                              )
12               Plaintiff,                   )
                                              )
13   v.                                       )
                                              ) NOTICE OF APPEARANCE
14   JAVIER ASTORGA REYES,                    )
                                              )
15               Defendant.                   )
     ________________________________________ )
16
17                  Pursuant to implementation of the CM/EMF procedures in the Southern District of
18   California, Jennifer L. Coon, Federal Defenders of San Diego, Inc., files this Notice of Appearance as lead
19   attorney in the above-captioned case.
20                                                        Respectfully submitted,
21
22   Dated: June 18, 2008                                  /s/ JENNIFER L. COON
                                                          Federal Defenders of San Diego, Inc.
23                                                        Attorneys for Defendant
                                                          Jennifer_Coon@fd.org
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       Case 3:06-cr-01023-DMS Document 21 Filed 06/18/08 PageID.63 Page 2 of 2



 1                                       CERTIFICATE OF SERVICE

 2                 Counsel for Defendant certifies that the foregoing is true and accurate to the best information

 3   and belief, and that a copy of the foregoing document has been caused to be delivered this day upon:

 4                 Courtesy Copy to Chambers

 5                 Copy to Assistant U.S. Attorney via ECF NEF

 6   Dated: June 18, 2008                                  /s/ JENNIFER L. COON
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